Case 22-19361-MBK         Doc 508     Filed 02/13/23 Entered 02/13/23 14:53:02             Desc Main
                                    Document      Page 1 of 10



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                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NEW JERSEY
 ______________________________
                                 :
 In re:                          :     Chapter 11
                                 :
 BlockFi Inc., et al., 1         :     Case No. 22-19361 (MBK)
                                 :     Jointly Administered
                                 :
 Debtors.                        :     Hearing Date: February 21, 2023 at 10:00 a.m.
 ______________________________:

     UNITED STATES TRUSTEE’S OBJECTION TO THE MOTION OF THE OFFICIAL
     COMMITTEE OF UNSECURED CREDITORS TO SEAL THE NAMES OF CERTAIN
       CONFIDENTIAL TRANSACTION PARTIES INTEREST RELATED TO THE
        COMMITTEE’S PROFESSIONAL RETENTION APPLICATIONS AND FOR
                             RELATED RELIEF

         Andrew R. Vara, the United States Trustee for Regions Three and Nine (the “U.S.

 Trustee”), through his undersigned counsel, files this objection (the “Objection”) to the Motion of

 the Official Committee of Unsecured Creditors to Seal the Names of Certain Confidential




 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
 identification number, are: BlockFi Inc. (0015); BlockFi Trading LLC (2487); BlockFi Lending LLC
 (5017); BlockFi Wallet LLC (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A);
 BlockFi Investment Products LLC (2422); BlockFi Services, Inc. (5965) and BlockFi Lending II LLC
 (0154).
Case 22-19361-MBK         Doc 508     Filed 02/13/23 Entered 02/13/23 14:53:02             Desc Main
                                    Document      Page 2 of 10



 Transaction Parties Interest Related to the Committee’s Professional Retention Applications and

 for Related Relief (the “Motion”) (Dkt. 403), and respectfully states:

                              I.     PRELIMINARY STATEMENT

        1.      Rigorous compliance with professional retention rules is critical to the integrity and

 transparency required of the bankruptcy system. All professionals should be held to the same

 baseline standards of transparent and complete disclosures. Further, all professionals must meet

 the Bankruptcy Code’s requirements for retention, including that they be free from conflict and

 satisfy the standards for disinterestedness.

        2.      Here, the Committee filed the Motion, seeking authorization to redact from the

 Committee’s professionals’ retention applications, the names of the Debtors’ “Confidential

 Transaction Counterparties” on the basis that “revealing potential counterparties may chill the

 marketing process,” “that certain of the Confidential Transaction Parties have executed non-

 disclosure agreements with the Debtors that require that their identities remain confidential,” and

 “that disclosing the identities of the potential counterparties … could severely hamper the sensitive

 negotiations between the Debtors and the potential counterparties, to the detriment of the

 marketing process, and interfere with the Debtors’ ability to maximize value for the benefit of their

 estates and all stakeholders.” See Dkt. 403-1 at ¶ 14.

        3.      Disclosure is a basic premise of bankruptcy law. Indeed, it is fundamental to the

 operation of the bankruptcy system and is the best means of avoiding any suggestion of

 impropriety that might or could be raised. The Bankruptcy Code contains very limited and specific

 exceptions to the general rule that bankruptcy proceedings should be open and transparent.

        4.      As relevant to this Motion, the Committee moves under Section 107 to redact the

 names and identities of the Confidential Transaction Parties included in the Committee’s



                                                  2
Case 22-19361-MBK           Doc 508     Filed 02/13/23 Entered 02/13/23 14:53:02          Desc Main
                                      Document      Page 3 of 10



 professionals’ retention applications. However, no showing has been made that the list of

 Confidential Transaction Parties contains information subject to any confidentiality or privilege.

         5.     As such, the U.S. Trustee objects to the redaction of the names and identities of the

 Confidential Transaction Parties in the Committee’s professionals’ retention applications and

 leaves the Committee and/or the Debtors to their burden under 11 U.S.C. § 107.

                      II.      JURISDICTION, VENUE AND STANDING

         6.     This Court has jurisdiction to hear and determine this Objection.

         7.     Under 28 U.S.C. § 586, the U.S. Trustee is charged with overseeing the

 administration of Chapter 11 cases filed in this judicial district. This duty is part of the U.S.

 Trustee’s overarching responsibility to enforce the bankruptcy laws as written by Congress and

 interpreted by the courts. See Morgenstern v. Revco D.S., Inc. (In re Revco D.S., Inc.), 898 F.2d

 498, 500 (6th Cir. 1990) (describing the U.S. Trustee as a “watchdog”).

         8.     Under 11 U.S.C. § 307, the U.S. Trustee has standing to be heard on this Objection.

 See United States Trustee v. Columbia Gas Sys., Inc. (In re Columbia Gas Sys., Inc.), 33 F.3d 294,

 295-96 (3d Cir. 1994) (noting that U.S. Trustee has “public interest standing” under 11 U.S.C. §

 307, which goes beyond mere pecuniary interest).

                                 III.     FACTUAL BACKGROUND

 General Case Background

         9.     On November 28, 2022 (“Petition Date”), the Debtors filed voluntary petitions for

 relief under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the

 “Bankruptcy Code”). See Case Nos. 22-19361, 22-19363, 22-19365, 22-19366, 22-19367, 22-

 19368, 22-19370, 22-19371 and 22-19374 at Dkt. 1.




                                                  3
Case 22-19361-MBK           Doc 508     Filed 02/13/23 Entered 02/13/23 14:53:02           Desc Main
                                      Document      Page 4 of 10



          10.    On November 29, 2022, the Court entered an Order directing that these cases be

 jointly administered. See Dkt. 42.

          11.    The Debtors continue to operate their business(es) as debtors in possession pursuant

 to 11 U.S.C. §§ 1107 and 1108.

          12.    No trustee or examiner has been appointed in these chapter 11 cases.

          13.    On December 21, 2022, the Office of the United States Trustee appointed an

 Official Committee of Unsecured Creditors. See Dkts. 130 and 131.

          14.    “BlockFi acquires clients by offering custom products and services that enable its

 clients to meet their financial goals, and continuously expands its product suite to deepen its

 relationship with its clients over time.” See Dkt. 17 at ¶ 29. “BlockFi serves retail clients through

 web and mobile applications, and its products enable individuals and small businesses to store

 and/or earn interest on, buy and sell, borrow U.S. Dollars secured by, and earn (via credit card

 rewards program) digital assets.” See id. at ¶ 30. On the institutional side, “BlockFi provides

 hedge funds, market makers, proprietary trading firms, trading desks, cryptocurrency miners,

 exchanges, and corporations with bespoke financing, trading, and treasury solutions relating to

 digital assets.” See id.

 The Debtors’ Redaction/Sealing Motions

          15.    On November 28, 2022, the Debtors filed a Motion for Entry of an Order (I)

 Authorizing the Debtors to File a Consolidated List of Top 50 Unsecured Creditors and

 Consolidated List of Creditors, (II) Authorizing the Debtors to Redact Certain Personally

 Identifiable Information of Individual Creditors, Clients, Equity Holders, and Current and Former

 Employees, (III) Authorizing Client Name Redaction, (IV) Waiving the Requirement to File an

 Equity List and Provide Notices Directly to Equity Security Holders, and (V) Granting Related



                                                  4
Case 22-19361-MBK            Doc 508     Filed 02/13/23 Entered 02/13/23 14:53:02           Desc Main
                                       Document      Page 5 of 10



 Relief, pursuant to which the Debtors seek to redact all personally identifiable information of

 creditors, clients, equity holders, and current and former employees from all Schedules and any

 document filed in these cases. See Dkt. 4.

            16.   On December 19, 2022, the Debtors filed a Motion for Entry of an Order

 Authorizing the Debtors to File Under Seal the Names of Certain Confidential Transaction Parties

 in Interest Related to the Debtors’ Professional Retention Applications. See Dkt. 127.

            17.   On January 10, 2023, the U.S. Trustee filed objections to the Debtor’s

 redaction/sealing motions. See Dkts. 231 and 233. The Debtor’s redaction/sealing motions are

 currently scheduled for hearings on March 13, 2023.

 The Motion

            18.   On January 25, 2023, the Committee filed the Motion. 2

            19.   The Motion seeks an order authorizing the Committee to redact and file under seal

 the names of the Debtors’ potential transaction counterparties (“Confidential Transaction Parties”)

 in connection with the Committee’s professionals’ retention applications (“Committee’s

 Professional Applications”), which includes: (i) Brown Rudnick LLP at Dkt. 400; (ii) Genova

 Burns LLC at Dkt. 399; (iii) M3 Advisory Partners, LP at Dkt. 402; and (iv) Elementus Inc. at Dkt.

 403.

            20.   The Motion is not supported by a Certification and provides no evidentiary support

 for the relief requested. The result is a series of retention applications and supporting declarations

 that are not transparent.




 2
     The Motion is similar to the motion filed by the Debtors at Dkt. 127.

                                                   5
Case 22-19361-MBK         Doc 508     Filed 02/13/23 Entered 02/13/23 14:53:02              Desc Main
                                    Document      Page 6 of 10



                          IV.     LAW ANALYSIS AND ARGUMENT

         21.    A movant has the burden of demonstrating that information may be sealed under

 Section 107 of the Bankruptcy Code. “It is clear that the courts of this country recognize a general

 right to inspect and copy public records and documents, including judicial records and documents.”

 See Nixon v. Warner Communications, Inc., 435 U.S. 589, 597 (1978); accord Pansy v. Borough

 of Stroudsburg, 23 F.3d 772, 780-81 (3d Cir. 1994) (recognizing “a right of access to judicial

 proceedings and judicial records” that is “beyond dispute”) (citation omitted). The “strong

 presumption in favor of public access to judicial records and papers . . . has statutory, common law

 and First Amendment underpinnings[.]” See In re Continental Airlines, 150 B.R. 334, 341 (D.

 Del. 1993).

         22.    The common law right of access “antedates the Constitution” and “promotes public

 confidence in the judicial system by enhancing testimonial trustworthiness and the quality of

 justice dispensed by the court.” See In re Avandia Marketing, Sales Practices and Products

 Liability Litigation, 924 F.3d 662, 672 (3d Cir. 2019) (citations, quotation marks omitted). Courts

 have generally observed that the common law right of access is codified in Section 107(a) of the

 Bankruptcy Code. See In re A C & S Inc., 775 Fed.Appx. 78, 79 (3d Cir. 2019); In re Alterra

 Healthcare Corp., 353 B.R. 66, 74-75 (Bankr. D. Del. 2006) (citing cases); In re Anthracite

 Capital, Inc., 492 B.R. 162, 170 (Bankr. S.D.N.Y. 2013).

         23.    Section 107 of the Bankruptcy Code provides in relevant part:

                     (a) Except as provided in subsections (b) and (c) of this section
                     and subject to section 112, a paper filed in a case under this title
                     and the dockets of a bankruptcy court are public records and
                     open to examination by an entity at reasonable times without
                     charge.




                                                   6
Case 22-19361-MBK         Doc 508     Filed 02/13/23 Entered 02/13/23 14:53:02              Desc Main
                                    Document      Page 7 of 10



                     (b) On request of a party in interest, the bankruptcy court shall,
                     and on the bankruptcy court’s own motion, the bankruptcy
                     court may—

                        (1) protect an entity with respect to a trade secret or
                            confidential     research,    development,       or
                            commercial information; or
                        (2) protect a person with respect to scandalous or
                            defamatory matter contained in a paper filed in a
                            case under this title.

 See 11 U.S.C. § 107.

         24.    In addition, Fed. R. Bankr. P. 9018 provides:

                     On motion or on its own initiative, with or without notice, the
                     court may make any order which justice requires (1) to protect
                     the estate or any entity in respect of a trade secret or other
                     confidential research, development, or commercial
                     information, (2) to protect any entity against scandalous or
                     defamatory matter contained in any paper filed in a case under
                     the Code, or (3) to protect governmental matters that are made
                     confidential by statute or regulation. If an order is entered under
                     this rule without notice, any entity affected thereby may move
                     to vacate or modify the order, and after a hearing on notice the
                     court shall determine the motion.

 See Fed. R. Bankr. P. 9018.

         25.    Section 107 of the Bankruptcy Code establishes “a broad right of public access to

 all papers filed in a bankruptcy case, subject to certain limited exceptions.” See In re A C & S Inc.,

 775 Fed.Appx. at 79. “Under § 107(a), unless a paper filed in a bankruptcy court falls within one

 of the express exceptions in § 107(b) or (c), it must be open to public inspection. On the other

 hand, if a paper falls within one of the express exceptions in § 107(b), on the request of a party in

 interest, the bankruptcy court shall protect a person.” See In re Food Management Group, LLC,

 359 B.R. 543, 554 (Bankr. S.D.N.Y. 2007). Sealing is “an extraordinary measure that is warranted

 only under rare circumstances as ‘public monitoring is an essential feature of democratic control.’”

 See In re Anthracite Capital, Inc., 492 B.R. at 171 (citation omitted).

                                                   7
Case 22-19361-MBK         Doc 508     Filed 02/13/23 Entered 02/13/23 14:53:02            Desc Main
                                    Document      Page 8 of 10



          26.   The party seeking to seal bears the burden of showing that the information falls

 within the parameters of an exception to Section 107(a) by demonstrating “that the interest in

 secrecy outweighs the presumption in favor of access.” See In re Continental Airlines, 150 B.R.

 at 340 (quotation marks, citations omitted); accord In re Food Management Group, LLC, 359 B.R.

 at 561; In re FiberMark, Inc., 330 B.R. 480, 504 (Bankr. D. Vt. 2005); In re Oldco M Corp., 466

 B.R. 234, 237 (Bankr. S.D.N.Y. 2012). “It is not an easy burden nor should it be.” See In re

 Gitto/Global Corp., 321 B.R. 367, 373 (Bankr. D. Mass. 2005), aff’d 2005 WL 1027348 (D. Mass.

 May 2, 2005), aff’d 422 F.3d 1 (1st Cir. 2005).

          27.   For the “commercial information” exception to apply, the information at issue has

 to result in “an unfair advantage to competitors by providing them information as to the

 commercial operations of the debtor.” See In re Alterra Healthcare Corp., 353 B.R. 66, 75 (Bankr.

 D. Del. 2006), quoting In re Orion Pictures Corp., 21 F.3d 24, 27-8 (2d Cir. 1994), Ad Hoc

 Protective Comm. for 10 ½% Debenture Holders v. Itel Corp. (In re Itel Corp.), 17 B.R. 942, 944

 (9th Cir. BAP 1982). “[D]isclosure of [the] information [must] reasonably be expected to cause

 the entity commercial injury.” In re Alterra Healthcare Corp., 353 B.R. at 75 (further citations

 omitted). Further, a court has to find that the information “is so critical to the operations of the

 entity seeking the protective order that its disclosure will unfairly benefit that entity’s

 competitors.” Id. at 75-6, quoting In re Barney’s, Inc., 201 B.R. 703, 708-9 (Bankr. S.D.N.Y.

 1996).

          28.   In addition, a protective order is not sufficient grounds to support the sealing of

 information. See In re Columbia Gas System, Inc., 1995 WL 917032 at *2 (D. Del. Oct. 4, 1995)

 (“[A] protective order may be binding on the parties to it during the discovery phase of litigation,

 but not beyond, if a party chooses to utilize ‘protected material’ in any matter other than a



                                                   8
Case 22-19361-MBK        Doc 508     Filed 02/13/23 Entered 02/13/23 14:53:02           Desc Main
                                   Document      Page 9 of 10



 discovery dispute.”); Kamakana v. City and County of Honolulu, 447 F.3d 1172, 1180 (9th Cir.

 2006) (“Unlike private materials unearthed during discovery, judicial records are public

 documents almost by definition, and the public is entitled to access by default. This fact sharply

 tips the balance in favor of production when a document, formerly sealed for good cause under

 Rule 26(c), becomes part of a judicial record.”).

          29.   Additionally, an agreement among parties to keep information confidential is not

 determinative. See In re Muma Services, Inc., 279 B.R. 478, 485 (Bankr. D. Del. 2002) (if parties

 could file documents under seal simply because of contractual confidentiality provisions, then the

 Court “would never have control over motion practice” and Section 107 “would be meaningless.”);

 Bradford & Bigelow, Inc. v. Richardson, 109 F.Supp.3d at 447 (some parties have a

 “misconception that they, rather than the court, get to decide when documents are sealed. That is

 not so.”).

          30.   Moreover, Section 105 of the Bankruptcy Code is not an independent basis on

 which to grant the Seal Motion. Section 105(a) “has a limited scope.” See In re Continental

 Airlines, 203 F.3d 203, 211 (3d Cir. 2000). A Bankruptcy Court’s equitable powers “must and

 can only be exercised within the confines of the Bankruptcy Code.”            See Norwest Bank

 Worthington v. Ahlers, 485 U.S. 197, 206 (1988).

          31.   “The general grant of equitable power contained in § 105(a) cannot trump specific

 provisions of the Bankruptcy Code and must be exercised within the parameters of the Code itself.”

 See In re Combustion Engineering, Inc., 391 F.3d 190, 236 (3d Cir. 2004). The Bankruptcy Court

 “cannot waive or modify Bankruptcy Code requirements that are plain and unambiguous because

 it agrees with the policy underlying the debtor’s arguments.” See In re Columbia Gas Systems

 Inc., 33 F.3d 294, 302 (3d Cir. 1994). “[W]hen a specific Code section addresses an issue, a court



                                                     9
Case 22-19361-MBK         Doc 508 Filed 02/13/23 Entered 02/13/23 14:53:02                Desc Main
                                 Document    Page 10 of 10



 may not employ its equitable powers to achieve a result not contemplated by the Code.” Matter

 of Fesco Plastics Corp., Inc., 996 F.2d 152, 154 (7th Cir. 1993).

         32.    Here, the Committee offers only unsupported statements from the Debtors that

 disclosing the identities of the Confidential Transaction Parties would chill the marketing process.

 The non-disclosure agreements are not a basis to avoid the transparency and disclosure

 requirements of the Bankruptcy Code. Accordingly, the Committee failed to establish that the

 Confidential Transaction Parties should be redacted under Section 107 of the Bankruptcy Code.

 As such, the Motion should be denied.

         33.    The U.S. Trustee reserves any and all rights, remedies, duties, and obligations found

 at law, equity or otherwise, including the right to complement, supplement, augment, alter and/or

 modify this Objection.

        WHEREFORE, the U.S. Trustee respectfully submits that the Court deny the Motion and

 grant such other relief as the Court deems just and necessary.

                                               Respectfully Submitted,

                                               ANDREW R. VARA,
                                               UNITED STATES TRUSTEE
                                               REGIONS 3 & 9


                                               By:    /s/ Jeffrey M. Sponder
                                                      Jeffrey M. Sponder
                                                      Trial Attorney

                                               By:    /s/ Lauren Bielskie
                                                      Lauren Bielskie
 Dated: February 13, 2023                             Trial Attorney




                                                 10
